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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 4:05cr3027-002

                                                     USM Number 20052-047

JIMMY D. AMOS
                       Defendant
                                                     ROBERT B. CREAGER
                                                     Defendant’s Attorney

                       AMENDED JUDGMENT IN A CRIMINAL CASE
Date of Original Judgment: 8/11/2006
(Or Date of Last Amended Judgment)

Reason for Amendment:
     Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to Count I of the Indictment on 4/18/2007

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                              Date Offense                Count
           Title, Section & Nature of Offense                  Concluded                Number(s)


 21:846 CONSPIRACY TO DISTRIBUTE CONTROLLED              September 30, 2004                  I
 SUBSTANCE

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[X] Government’s motion, filing 105, for reduction of sentence pursuant to Rule 35(b) is granted.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice
of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall
notify the court and United States attorney of any material change in the defendant’s economic
circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                      August 15, 2007

                                                                             s/ Richard G. Kopf
                                                                             United States District Judge

                                                                                August 16, 2007
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                                          IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to a term of seventy-
two (72) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant be incarcerated in a federal facility as close to the state of Nebraska as
         possible.

The defendant is remanded to the custody of the United States Marshal.


                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                 _____________________________
                                                                         Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                           __________________________________
                                                                  UNITED STATES WARDEN


                                                        By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                           __________________________________
                                                                  UNITED STATES WARDEN


                                                        By:__________________________________
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                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5)
years.

The defendant shall report to the probation office in the district to which the defendant is released within
72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as
with any additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in residence
         or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         associate with any person convicted of a felony, unless granted permission to do so by the
         probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested or
         questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a
         law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics and shall
         permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION

1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to the
         Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of 2004), if such
         sample was not collected during imprisonment.

2.       The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or night,
         with or without a warrant, at the request of the probation officer to determine the presence of controlled
         substances, firearms or any other contraband. Any such items found may be seized by the probation
         officer. This condition may be invoked with or without the cooperation of law enforcement officers.

3.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment or
         counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled substance
         abuse, as directed by the probation officer.

4.       The defendant shall participate in anger management counseling and/or a course related to decision-
         making and problem solving, as directed by the U. S. Probation Officer.

5.       The defendant shall participate in a victim awareness program as directed by the probation officer. Based
         on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an amount
         determined by the probation officer.

6.       The defendant shall attend, successfully complete, and pay for any mental health diagnostic evaluations
         and treatment or counseling programs as directed by the probation officer.

7.       The defendant shall provide the probation officer with access to any requested financial information.

8.       Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days of
         release on supervised release and at least two (2) periodic drug tests thereafter to determine whether the
         defendant is using a controlled substance. Further, the defendant shall submit to such testing as
         requested by any probation officer to detect the presence of alcohol or controlled substances in the
         defendant’s body fluids and to determine whether the defendant has used any of those substances. Based
         on the defendant’s ability to pay, the defendant shall pay for the collection of urine samples to be tested
         for the presence of alcohol and/or controlled substances in an amount to be determined by the probation
         officer.

9.       The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
         between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall North, 530 U.S. Courthouse, Lincoln,
         Nebraska, (402) 437-5223, within seventy-two (72) hours of release from confinement and, thereafter, as
         directed by the probation officer.
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                               CRIMINAL MONETARY PENALTIES


      The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

         Total Assessment                     Total Fine                    Total Restitution

      $100.00 ($50 remains)



The Court has determined that the defendant does not have the ability to pay interest and it is ordered
that interest requirement is waived.



                                                FINE

         No fine imposed.



                                           RESTITUTION

         No restitution was ordered.
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                                       SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to
pay said sum immediately if he or she has the capacity to do so. The United States of America may
institute civil collection proceedings at any time to satisfy all or any portion of the criminal monetary
penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments
to satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3%
of the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days
following the defendant’s discharge from incarceration, and continue until the criminal monetary penalty
is paid in full; and (c) the defendant shall be responsible for providing proof of payment to the probation
officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order
of priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically
ordered, all criminal monetary penalty payments, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the Court.
Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.


CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________
DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
